EXHIBIT D
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                                                                                                         Exhibit 4.1

                                                                                                   Execution Version


                          ______________________________________________________________________
                                                            $1,600,000,000
                                       SENIOR UNSECURED INTERIM LOAN AGREEMENT
                                                    Dated as of December 20, 2007
                                                                 Among
                                                       TRIBUNE COMPANY
                                                              as Borrower
                                            THE INITIAL LENDERS NAMED HEREIN
                                                           as Initial Lenders
                                           MERRILL LYNCH CAPITAL CORPORATION
                                                       as Administrative Agent
                                                 JPMORGAN CHASE BANK, N.A.
                                                         as Syndication Agent
                                               CITICORP NORTH AMERICA, INC.
                                                            and
                                                   BANK OF AMERICA, N.A.
                                                     as Co-Documentation Agents
                                                                   and
                                              J.P. MORGAN SECURITIES INC.,
                                                  MERRILL LYNCH & CO.,
                                  MERRILL LYNCH, PIERCE, FENNER & SMITH INCORPORATED,
                                            CITIGROUP GLOBAL MARKETS INC.
                                                           and
                                            BANC OF AMERICA SECURITIES LLC
                                             as Joint Lead Arrangers and Joint Bookrunners
                          ______________________________________________________________________

                                                        Cahill Gordon & Reindel LLP
                                                                80 Pine Street
                                                        New York, New York 10005

                                                                  894358




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   IN WITNESS WHEREOF, the parties hereto have caused this Agreement to be executed by their respective officers thereunto duly authorized, as of the date first
above written.

                                                                                                            TRIBUNE COMPANY

                                                                                                            By: /s/ Chandler Bigelow
                                                                                                               Name: Chandler Bigelow
                                                                                                               Title: Vice President

                                                                                                            MERRILL LYNCH CAPITAL CORPORATION,
                                                                                                            as Agent and Lender

                                                                                                            By: /s/ David Tuvlin
                                                                                                               Name: David Tuvlin
                                                                                                               Title: Vice President

                                                                                                            JPMORGAN CHASE BANK, N.A.,
                                                                                                            as Syndication Agent and Lender

                                                                                                            By: /s/ John Kowalczuk
                                                                                                               Name: John Kowalczuk
                                                                                                               Title: Vice President

                                                                                                            CITICORP NORTH AMERICA, INC.,
                                                                                                            as Lender

                                                                                                            By: /s/ Julie Persily
                                                                                                               Name: Julie Persily
                                                                                                               Title: Managing Director

                                                                                                            BANC OF AMERICA BRIDGE LLC,
                                                                                                            as Lender

                                                                                                            By: /s/ James G. Rose
                                                                                                               Name: James G. Rose
                                                                                                               Title: Managing Director

                                                                                S-1




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                                                                  LEHMAN BROTHERS COMMERCIAL BANK,
                                                                  as Lender

                                                                  By: /s/ George Janes
                                                                     Name: George Janes
                                                                     Title: Chief Credit Officer

                                                                   LASALLE BANK NATIONAL ASSOCIATION,
                                                                   as Lender

                                                                   By: /s/ Jason Guerra
                                                                      Name: Jason Guerra
                                                                      Title: Assistant Vice President

                                                                   BARCLAYS BANK PLC,
                                                                   as Lender

                                                                   By: /s/ David Barton
                                                                      Name: David Barton
                                                                      Title: Associate Director

                                                                    SUMITOMO MITSUI BANKING CORPORATION,
                                                                    as Lender

                                                                    By: /s/ Yoshihiro Hyakutome
                                                                       Name: Yoshihiro Hyakutome
                                                                       Title: General Manager

                                                 S-2




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